Case 1:25-cv-00168-GBW           Document 75      Filed 03/17/25    Page 1 of 2 PageID #: 796




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                           )
                                               )
                      Plaintiff,               )
                                               )
        v.                                     ) C.A. No. 1:25-cv-00168-GBW
                                               )
 KPLER HOLDING SA,,                            )
                                               )
                      Defendant.               )

    NOTICE OF INTENT TO SERVE THIRD-PARTY SUBPOENAS TO PRODUCE
    DOCUMENTS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 45

       PLEASE TAKE NOTICE that, on or after March 17, 2025, the undersigned will serve a

Subpoena to Produce Documents, Information, or Objects pursuant to Federal Rule of Civil

Procedure 45 on the following:

       1.     L3Harris Technologies, Inc.

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Case 1:25-cv-00168-GBW        Document 75       Filed 03/17/25   Page 2 of 2 PageID #: 797




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 Dated: March 17, 2025




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